                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

 L.W., by and through parents and next               )
 friends, Samantha Williams and Brian                )
 Williams, et al.,                                   )
                                                     )              No. 3:23-cv-00376
         Plaintiffs,                                 )              JUDGE RICHARDSON
                                                     )              JUDGE NEWBERN
 and                                                 )
                                                     )
 UNITED STATES OF AMERICA,                           )
                                                     )
         Plaintiff-Intervenor,                       )
                                                     )
 v.                                                  )
                                                     )
 JONATHAN SKRMETTI et al.,                           )
                                                     )
         Defendants.                                 )

       DEFENDANTS’ RESPONSE TO NOTICE OF SUPPLEMENTAL AUTHORITY

        This Court should not follow the legally and factually flawed opinion in Doe v. Ladapo,

2023 WL 3833848 (N.D. Fla. June 6). Most glaringly, it does not cite Dobbs even once, despite

the Florida defendants raising it repeatedly in their briefing. Abortion laws, such as the one upheld

in Dobbs, almost invariably consider sex because only women can become pregnant. 142 S.Ct. at

2243 & n.14 (noting that Miss. Code Ann. § 41-41-191 prohibits abortions after 15 weeks gestation

with gestational age “calculated from the first day of the last menstrual period of the pregnant

woman”); see also Tenn. Code Ann. § 39-15-213 (repeatedly using “woman” and “female”).

Rational-basis review is still the appropriate standard for such laws. This Court should not follow

Ladapo’s lead in pretending that Dobbs never happened.

        Denigrating Florida’s policy judgments, Ladapo equated the State of Florida with “Iran or

other similarly repressive regimes.” 2023 WL 3833848, at *14. Ironically, Iran is in fact “a hub



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for sex-reassignment surgery.”1 In contrast, as Dr. Román has declared in this case, modern

European democracies such as Sweden have taken steps that “resulted in essentially a ban on

puberty blockers, cross-sex hormones, and surgeries in children” in all but the most exceptional

cases and in research that Plaintiffs have not argued is happening in Tennessee. [Román (Doc.

113-6) ¶¶ 33-39.]    The Tennessee General Assembly appropriately responded to VUMC’s

profit-motivated practices by enacting legislation that protects all minors in our State.

       Even if this Court repeats Ladapo’s mistakes, that decision did not provide the sweeping

relief that Plaintiffs in this case have requested. Ladapo preliminarily enjoined certain Florida

officials from “tak[ing] any steps to prevent the administration of GnRH agonists or cross-sex

hormones to” only the three minor plaintiffs in that case. 2023 WL 3833848, at *17. Such a

limited injunction is not “a facial injunction prohibiting Defendants from enforcing the Ban”

against parties and nonparties alike, regardless of whether healthcare providers are treating the

minor Plaintiffs who requested the preliminary injunction here. Private Plaintiffs’ Reply 12.




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   Economist, Why Iran is a hub for sex-reassignment surgery (Apr. 4, 2019),
https://www.economist.com/middle-east-and-africa/2019/04/04/why-iran-is-a-hub-for-sex-
reassignment-surgery.


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Dated: June 9, 2023                 Respectfully submitted,

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       I hereby certify that on June 9, 2023, the undersigned filed the foregoing document via this

Court’s electronic filing system, which sent notice of such filing to the following counsel of record:

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